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                   UNITED STATES COURT OF APPEALS
                    DISTRICT OF COLUMBIA CIRCUIT

SHAWN MUSGRAVE,                       *
                                      *
            Appellant,                *
                                      *
            v.                        *
                                      *      Case No. 22-5252
MARK WARNER, et al.,                  *
                                      *
            Appellees.                *
                                      *
*     *     *      *     *      *     *      *     *      *     *       *       *

                  STATEMENT OF ISSUES TO BE RAISED

      Appellant Shawn Musgrave (“Musgrave”), by and through undersigned

counsel, hereby respond to the Court’s Scheduling Order dated 28 September 2022

as follows. This case involves the following questions:

      1.    Whether the District Court erred as a matter of law in concluding that

            the Court lacked subject matter jurisdiction over the case?

      2.    Whether the District Court erred as a matter of fact and law in

            concluding that Senate Report 113-288, Report of the Senate Select

            Committee on Intelligence Committee Study of the Central

            Intelligence Agency’s Detention and Interrogation Program (“the

            Report”) was covered by the Speech or Debate Clause of the U.S.

            Constitution?
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      3.    Whether the District Court erred as a matter of fact and law in

            concluding that the Report was not a public record?

      4.    Whether the District Court erred as a matter of fact and law in

            concluding that Appellees’ interest in secrecy outweighed the public’s

            interest in disclosure?

      5.    Whether the District Court erred as a matter of law in concluding that

            Musgrave’s request for a sanitized version of the Report—in which all

            classified information which had not been previously officially

            disclosed would be redacted—was moot?

      6.    Whether the District Court erred as a matter of law in concluding that

            Musgrave’s request for limited discovery in lieu of dismissal was

            barred.

Date: October 28, 2022

                                         Respectfully submitted,


                                          /s/ Kelly B. McClanahan
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